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                                 UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                         )
           UNITED STATES OF AMERICA                      )
                                                         )   Case No. 1:20-cr-41
                            v.                           )
                                                         )
           CARINA ELIZABETH TUCKER                       )   Richard A. Lanzillo
                                                         )   United States Magistrate Judge

                                       MEMORANDUM OPINION

          The Government's request for detention of Defendant Carina Elizabeth Tucker came before

the undersigned for hearing on September 17, 2020. At the conclusion of the hearing, the

undersigned took the matter under advisement. The court now enters an Order of Detention Pending

Trial of Defendant Tucker and provides the following as its findings of fact and statement of reasons

for detention pursuant to 18 U.S.C. § 3142.

     I.        DISCUSSION

          The Bail Reform Act, 18 U.S.C. § 3141 et seq., is stmctured to ensure that the interests of the

defendant and the public are carefully considered before pretrial release or detention is ordered. The

court is charged with holding a hearing to determine whether there exists "any condition or

combination of conditions set forth in [18 U.S.C. § 3142(c)] that will reasonably assure the appearance

of the [defendant] as required and the safety of any other person and the community." 18 U.S.C. §

3142(£). Section 3142(c)(1)(B) of the Bail Reform Act sets forth a nonexclusive list of conditions that

a court may impose upon granting a defendant's motion for pretrial release. If the court determines no

such condition or combination of conditions exist, however, the court may order that a defendant be

detained without bail pending trial.

              A. Rebuttable Presumption

          In this case, a rebuttable presumption applies that no conditions or combination of conditions


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will reasonably assure the appearance of defendant as required or the safety of the community.

Section 3142(e)(3) provides:

                          Subject to rebuttal by the person, it shall be presumed that no
                          condition or combination of conditions will reasonably assure
                          the appearance of the person as required and the safety of the
                          community if the judicial officer finds that there is probable
                          cause to believe that the person committed-(A) an offense
                          for which a maximum term of imprisonment of ten years or
                          more is prescribed in the Controlled Substances Act (21
                          U.S.C. 801 et seq.) ....


18 U.S.C. § 3142(e)(3)


           There is probable cause to believe Ms. Tucker committed offenses that fall within the category

of offenses listed in Section 3142(e)(3)(A) because a grand jury returned an indictment charging

defendant with (1) conspiracy to distribute and possess with the intent to distribute 500 grams or more

of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. § 846,

(2) maintaining property for manufacturing, distributing and using a controlled substance in violation

of 21 U.S.C. § 856(a)(1), (3) distribution of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1)

and 841(b)(1)(C), and (4) possession with intent to distribute 50 grams or more of a mixture or

substance containing methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii).

The minimum statutory term of imprisonment for these offenses is ten years. Thus, subject to

rebuttal by defendant, it is "presumed that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of the community." 18 U.S.C. §

3142(e).

       A defendant may offer evidence to rebut the presumption that no condition or combination of

conditions will reasonably assure the safety of the community if defendant is released pending trial. A

defendant must produce only "some evidence" to rebut the presumption set forth in§ 3142(e). See

United States v. Jessup, 757 F.2d 378,384 (1st Cir.1985). The quantum of evidence required to rebut the
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presumption is not high; rather, the defendant need only come forward with credible evidence

conflicting with the presumption. Id. at 383. When a defendant produces conflicting evidence, the

presumption does not disappear. The rebutted presumption retains evidentiary weight. See United

States v. Carbone, 793 F.2d 559, 560-61 (3d Cir.1986) (per curiam).

                 B. The§ 3142(g) Factors

        In producing evidence to rebut the presumption, the court looks to the four factors set forth

in § 3142(g), which the court must consider in dete1mining whether pretrial detention is warranted.

United States v. Mercedes, 254 F.3d 433,436 (2d Cir.2001) (to determine whether the presumption for

risk of flight and danger to the community has been rebutted, the court should consider the factors set

forth in§ 3142(g)). Id. at 436. The four factors are:

                     (1) the nature and circumstances of the offense charged,
                     including whether the offense is a crime of violence, a violation
                     of section 1591, a federal crime of terrorism, or involves a minor
                     victim or a controlled substance, firearm, explosive, or
                     destructive device;

                     (2) the weight of the evidence against the person;

                     (3) the history and characteristics of the person, including-

                           a. the person's character, physical and mental condition,
                           family ties, employment, financial resources, length of
                           residence in the community, community ties, past conduct,
                           history relating to drug or alcohol abuse, criminal history,
                           and record concerning appearance at court proceedings;
                           and

                           b. whether, at the time of the current offense or arrest, the
                           person was on probation, on parole, or on other release
                           pending trial, sentencing, appeal, or completion of sentence
                           for an offense under federal, state, or local law; and

                     (4) the nature and seriousness of the danger to any person or the
                     community that would be posed by the person's release.

18 u.s.c. § 3142(g).

                 C. Danger to the Community

       Safety of the community is implicated not only by violence, but also by narcotics trafficking. In
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cases involving dmg offenses, the danger to the community is the likelihood that the defendant will, if

released, traffic in illicit dmgs. United States v. Perry, 788 F.2d 100, 111 (3d Cir.1986). The indictment in

this case places Ms. Tucker at the center of an extensive narcotics distribution enterprise. This

enterprise resulted in the methamphetamine addiction of several individuals and involved their

recruitment to the enterprise to feed their addiction. Although Ms. Tucker is not charged with any

firearms violations, the indictment casts her as a central figure within a criminal enterprise that

regularly involved guns and threats of violence.

                     1.Evidence Presented by Defendant to Rebut the Presumption of Danger to the
                       Community
        To rebut the§ 3142(e)(3) presumption, Tucker's counsel proffered the absence of violent

offenses in Ms. Tucker's criminal history, her relatively modest criminal history prior to recent dmg-

related charges, the fact that two of the state dmg charges listed in her history are subsumed within the

current federal indictment, the absence of any dmg-related activities in recent months, and her

mother's willingness to serve as a third-party custodian for her daughter. Ms. Tucker's counsel also

detailed Tucker's extensive history of serious illnesses, including ovarian cancer in 2005, asthma, acute

myelogenous leukemia for which Tucker has received extensive chemotherapy and other treatment,

and sepsis brought on by physical weakness related to her leukemia treatments and for which Tucker

was hospitalized as recently as August, 2020.

       The court found the foregoing proffer sufficient to rebut the presumption in this case. This

returned the burden to the Government to establish by clear and convincing evidence that no

condition or combination of conditions would reasonably ensure the safety of the community if

defendant were to be released. 18 U.S.C. 3142(£). As explained below, the court finds that the

Government has met its burden.

                     2. Clear and Convincing Evidence Presented by the Government

                         a. Nature and Circumstances of the Offenses Charged


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        As detailed above, the indictment charges Tucker with very serious drug trafficking offenses.

The offenses carry a statutory minimum term of imprisonment of ten years and significant monetary

penalties, among other penalties. The indictment in this case supports the finding of probable cause

with respect to these offenses, and the serious nature of the offenses alone weighs against a finding

that Ms. Tucker should be released pending trial. Beyond the charges themselves, the nature of Ms.

Tucker's alleged involvement in the chug trafficking operation is even more compelling in favor of

detention. She can fairly be characterized as one of the principal ringleaders in the c1-im.inal enterprise

charged in the indictment. While Ms. Tucker is not personally alleged to have possessed firearms in

connection with the enterprise described in the indictment, she is alleged to be one of the individuals

directing others who have engaged in such conduct. The evidence strongly supports that Ms. Tucker's

role in the alleged criminal enterprise, including the procurement and transportation of the drugs, was

primary and poses a far greater danger to the community than the conduct of many of the other c6-

defendants. The record also supports that Ms. Tucker engaged in criminal drug-related activities after

she was charged with such offenses in Pennsylvania state court, which raises serious doubts regarding

her compliance with any conditions the court might impose if it were to release her. As one of the

alleged leaders of the drug ente1prise charged in the indictment, Ms. Tucker also poses a risk of

witness or co-defendant manipulation or intimidation. Further, the court finds that, at present, the

risk to the community cannot be reasonably mitigated by the custodial arrangements offered by the

defendant. While the court has no reason to doubt the sincerity of Ms. Tucker's mother, who offered

to act as a third-party custodian, family members and other potential custodians can only do so much

to control the activities of a person intent to engage in c1-im.inal conduct.

                         b. Weight of the Evidence

        The court also finds that the weight of the evidence favors detention. The proffer ~f evidence

by the Government supports the existence an extensive methamphetamine distribution operation, and


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communications between Tucker and various co-defendants and other evidence place her squarely at

the center of that operation.

                         c. History and Characteristics of the Defendant

        Ms. Tucker's criminal history is not extensive prior to June of 2019, when she was first

charged with drug offenses in Pennsylvania state court. As previously noted, Ms. Tucker is alleged to

have continued her drug trafficking activities even after the initial charges.

        Ms. Tucker does not currently have gainful employment and has no meaningful history of

employment. Her lack of employment is likely attributable to her illness and disability. Her lack of

employment and limited economic resources has some relevance in that the absence of employment

allows her time to engage in drug-related activities and creates an economic incentive to engage in

such activities.

        The court has also considered Ms. Tucker's serious illnesses and medical needs. The court

recognizes that pretrial detention places Ms. Tucker's health at greater risk, particularly given the

ongoing coronavirus pandemic. During the detention hearing, Ms. Tucker's counsel presented

extensive literature explaining the seriousness of her leukemia and the burdens her treatment place

upon her physically. Counsel also documented that multiple of Ms. Tucker's conditions make her

"high risk" for serious complications should she contract COVID-19. Based upon the record as it

currently stands, however, the court finds that the risks to Ms. Tucker's health are materially

outweighed by the risks to the community if the court were to release Ms. Tucker. This assessment

necessarily assumes that the Erie County Prison will diligently dispense prescribed medications and

facilitate required treatments as determined by Ms. Tucker's healthcare providers and follow

appropriate procedures to mitigate Ms. Tucker's potential exposure to the coronavirus. Should this

not be the case, Ms. Tucker retains the right to request reconsideration of this Order based upon new

evidence or changed circumstance. Ms. Tucker also has the right to appeal this Order to United States


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 District Judge Susan Paradise Baxter and/or seek relief pursuant to 18 U.S.C. 3142~)-

                            d. Nature and Seriousness of the Danger to the Community if Released

         The nature and seriousness of the danger to the community if defendant is released also weighs

 in favor of detention. The harm suffered by the community from drug trafficking is substantial, Perry,

 788 F.2d at 111, and Ms. Tucker's alleged extensive involvement in drug trafficking activities raises

 this danger to a level that cannot be mitigated adequately by any condition or combination of release

 conditions.

      II. CONCLUSION

        After considering the record as a whole, including consideration of the nature and

circumstances of the serious drug offenses charged, the weight of evidence presented by the

Government, the history and characteristics of defendant, the nature and seriousness of danger to the

community posed by defendant's release, and the rebuttable presumption, which retains evidentiary

weight, the court concludes that there is no condition or set of conditions which would reasonably

assure that defendant would not engage in chug trafficking while on release pending trial or reasonably

ensure the safety of the public. The Government has met its burden to show by clear and convincing

evidence that defendant poses a risk of danger to the community, i.e., she is likely to engage in drug

trafficking if released prior to trial. The court will, therefore, enter an order directing the pretrial

detention of Ms. Tucker.


                                                       ~v~~o RICHARDA.LANZIL
                                                             United States Magistrate Judge
Dated: September 18, 2020




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